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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

_vs._

 

PAMELA JOYCE CAMPBELL

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOIN'I`MENT
' All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this §§ rs day of August,
2005.

C§f'/ZMM/taai

s. THoMAs XNDERSON
UNITED s'rATEs MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Ofiice

Assistant Federal Public Defender , d
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PAMELA JOYCE CAMPBELL . .\-\@6"~" “¢,{

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20257 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

